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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


MARK MEADOWS,

              Plaintiff,

      v.                                            Civil Action No. 1:21-cv-03217 (CJN)

NANCY PELOSI, et al.,

              Defendants.


           ORDER ON MOTION FOR STAY PENDING RECONSIDERATION

       On October 31, 2022, this Court issued a Memorandum Opinion and Order dismissing

Plaintiff Mark Meadows’s claims for lack of subject-matter jurisdiction. See Mem. Op., ECF No.

49; Order, ECF No. 50. On November 2, 2022, Meadows moved for reconsideration of that

decision; he also moved for a temporary stay of the judgment while the Court considers the request

for reconsideration. See Pl.’s Mot., ECF No. 51. The Court now declines to issue a stay pending

reconsideration.

       A stay operates by “temporarily suspending the source of authority to act—the order or

judgment in question—not by directing an actor’s conduct.” Nken v. Holder, 556 U.S. 418, 428–29

(2009). In other words, it “simply suspends judicial alteration of the status quo.” Id. at 429

(quotation and brackets omitted).

       Here, however, there is nothing to stay in order to maintain the status quo. Because the

Congressional Defendants (for whatever reason) did not pursue affirmative claims against

Meadows, the Court’s dismissal of Meadows’s claims does not obligate him to take any action.

And because Meadows never sought (and thus the Court never granted) preliminary injunctive

relief against the Congressional Defendants, the dismissal of his claims does not allow those

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Defendants to take any action that they were prevented from taking by Court order. As for

Verizon, it has never been a party to this litigation, and thus the Court has never ordered Verizon

to take or refrain from taking any action. (Indeed, no party has ever sought any relief against

Verizon.) In sum, the Court’s dismissal of this action for lack of subject-matter jurisdiction does

not alter the status quo between the parties, as it existed either at the time this suit was commenced

or during its entire pendency. See McCammon v. United States, 584 F. Supp. 2d 193, 196 (D.D.C.

2008) (explaining that a stay was unwarranted where the court ordered the dismissal of a petition

to quash a subpoena for lack of subject-matter jurisdiction without ruling on the merits or ordering

the subpoena’s enforcement).

       For these reasons, Meadows cannot satisfy the traditional stay standard, which includes

four factors: “(1) whether the stay applicant has made a strong showing that he is likely to succeed

on the merits; (2) whether the applicant will be irreparably injured absent a stay; (3) whether

issuance of the stay will substantially injure the other parties interested in the proceeding; and (4)

where the public interest lies.” Nken, 556 U.S. at 425–26 (quotation omitted). The first and second

factors are “the most critical,” id. at 434, and Meadows has not shown that a stay will provide him

any meaningful relief. See id. at 434–35 (requiring more than “some possibility” as to the second

factor (quotation omitted)). A stay of the judgment is therefore unwarranted.1



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   In his initial motion for reconsideration, Meadows also stated that he was seeking “an
administrative injunction preventing enforcement of the subpoenas while the Court considers Mr.
Meadows’s request for reconsideration.” Pl.’s Mot. at 1; see Pl.’s Mem. at 7, ECF No. 51-1. The
Congressional Defendants responded that an injunction would conflict with the Court’s
jurisdictional ruling and would otherwise “violate the separation of powers.” Defs.’ Opp’n at 8,
ECF No. 52 (citing Hearst v. Black, 87 F.2d 68, 71 (D.C. Cir. 1936)). In his reply brief, Meadows
did not respond to those arguments or repeat any request for an injunction (rather than a stay). See
Pl.’s Reply, ECF No. 53. He therefore abandoned any objection to the arguments, if not his entire
request for injunctive relief. See Wimbish v. D.C., 381 F. Supp. 3d 22, 35 n.9 (D.D.C. 2019)
(stating that a party conceded an argument by not responding to it in a reply brief).

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       Meadows’s request for a stay pending reconsideration is DENIED. The Court will issue a

decision on the pending motion for reconsideration in due course.



DATE: November 17, 2022
                                                           CARL J. NICHOLS
                                                           United States District Judge




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